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     Attorneys for Defendant
 5   CARLOS GUERRERO-ELENES
 6

 7
                                   UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       SAN FRANCISCO DIVISION
10

11                                               Case No.: CR 16-0469 MMC
     UNITED STATES OF AMERICA,
12                                               STIPULATION AND [PROPOSED] ORDER RE
                   Plaintiff,                    CONTINUANCE OF JANUARY 31, 2018
13                                               HEARING
            v.
14
     CARLOS GUERRERO-ELENES,
15
                   Defendant.
16

17          This matter is currently set for a status conference on January 31, 2018. The parties

18   are working diligently on a negotiated plea agreement in this matter. Part of that process has
19
     been the parties’ monitoring of a matter in the Central District of California relevant to Mr.
20
     Guerrero-Elenes’ case. The parties require additional time to research relevant issues in the
21
     Central District of California before determining whether a negotiated plea is possible.
22
            Based on the foregoing, the parties request and jointly stipulate that the hearing in this
23

24   matter should be continued to March 21, 2018, at 2:15 p.m., to allow for the effective

25   preparation of counsel and for continunity of counsel. The parties further agree and stipulate



       STIPULATION AND [PROPOSED] ORDER RE CONTINUANCE OF
       JANUARY 31, 2018 HEARING [Case No.: CR 16-0469 MMC]                                               1
             Case 3:07-cr-00645-MMC Document 699 Filed 01/22/18 Page 2 of 3



     that the time from January 31, 2018, through and including March 21, 2018, may be time
 1

 2   excluded from the Speedy Trial Act, in order to ensure the reasonable time necessary for

 3   effective preparation of counsel, pursuant to Title 18, United States Code Sections 3161(b),

 4   (h)(7)(A), (h)(7)(B)(iv).
 5          Additionaly, the parties request and stipulate that the supervised release matter, CR 07-
 6
     0645 MMC, that is trailing this case, also be continued to March 21, 2018. The U.S. Probation
 7
     Department is available on the proposed date.
 8
            SO STIPULATED.
 9
                                                            Respectfully submitted,
10

11
                                                            ALEX TSE
12                                                          Acting United States Attorney

13

14
     Dated: January 16, 2018                                ______/s/______________________
15                                                          SAMANTHA SCHOTT
                                                            Special Assistant United States Attorney
16

17
     Dated: January 16, 2018                                _____/s/____________________
18
                                                            EDWIN PRATHER
19                                                          PRATHER LAW OFFICES
                                                            Attorneys for Defendant
20                                                          CARLOS GUERRERO-ELENES

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       STIPULATION AND [PROPOSED] ORDER RE CONTINUANCE OF
       JANUARY 31, 2018 HEARING [Case No.: CR 16-0469 MMC]                                          2
            Case 3:07-cr-00645-MMC Document 699 Filed 01/22/18 Page 3 of 3




 1                                       [PROPOSED] ORDER
 2
           GOOD CAUSE APPEARING and per the parties’ stipulation, IT IS HEREBY ORDERED
 3      the
     that January 31, 2018 status conference be continued to March 21, 2018, at 2:15 p.m. The
 4       ^
     time from January 31, 2018, through and including March 21, 2018, shall be time excluded
 5

 6   from the Speedy Trial Act, in order to ensure the reasonable time necessary for effective

 7   preparation and continunity of counsel, pursuant to Title 18, United States Code Sections

 8   3161(b), (h)(7)(A), (h)(7)(B)(iv). The supervised release matter, CR 07-0645 MMC, currently

 9   set for January 31, 2018, shall also be continued to March 21, 2018, at 2:15 pm.
10

11
            January 19, 2018
     Dated: _______________                         _____________________________________
12                                                  THE HONORABLE MAXINE M. CHESNEY
                                                    UNITED STATES SENIOR DISTRICT JUDGE
13

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       STIPULATION AND [PROPOSED] ORDER RE CONTINUANCE OF
       JANUARY 31, 2018 HEARING [Case No.: CR 16-0469 MMC]                                         3
